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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

ANGEL BUSTOS-AGUIRRE, et al.,

      Defendants.                                          No. 04-CR-30029-DRH

                                     ORDER

HERNDON, District Judge:

            Now before the court is a Second Motion to Continue Sentencing filed

by Defendant Johnny Johnson (Doc. 210) Mr. Johnson’s counsel, Robert H. McNeill,

Jr. And Mark B. Albrecht, state that because Mr. Johnson has agreed to cooperate

and provide testimony for the government at the trial of Quawntay Adams, he wishes

to continue his sentencing , currently on May 11, 2006, until after Mr. Adams’ trial

– recently continued from March 27, 2006 to June 26, 2006. Therefore, the Court

GRANTS Johnson’s Second Motion to Continue Sentencing (Doc. 210) and

CONTINUES the sentencing hearing for defendant Johnson, scheduled for Thursday,

May 11, 2006 at 10:00 a.m. to Friday, September 15, 2006 at 1:30 p.m.

            IT IS SO ORDERED.

            Signed this 7th day of April, 2006.


                                                     /s/      David RHerndon
                                                     United States District Judge
